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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                        LONDON DIVISION

                                                       :
In re:                                                 :        Chapter 11
                                                       :
Americore Holdings, LLC, et al.1                       :        Case No. 19-61608 (GRS)
                                                       :
                                     Debtors           :        (Jointly Administered)
                                                       :
                                                       :        Honorable Gregory R. Schaaf
                                                       :


              AGREED ORDER TO EXTEND SCHEDULING ORDER DEADLINES


           Upon the joint motion of Pelorus Equity Group, Inc. (“Pelorus”), by counsel, as agent and

broker for certain lenders, and together with the Carol L. Fox, Chapter 11 Trustee (the “Trustee,”

and with Pelorus, the “Parties,” and each a “Party”), the Parties being in agreement, and the Court

being otherwise sufficiently advised,

           IT IS HEREBY ORDERED that Order Scheduling Evidentiary Hearing [ECF No. 554] is

modified as follows:2

      1. EPS Training. Counsel are required to contact the Courtroom Deputy to schedule EPS

           Training on or before July 20, 2020. Counsel are required to complete the EPS Training no

           later than July 27, 2020.




1
  The “Debtors” in these Chapter 11 cases are (with the last four digits of their federal tax identification numbers in
parentheses): Americore Holdings, LLC (0115); Americore Health, LLC (6554); Americore Health Enterprises, LLC
(3887); Ellwood Medical Center, LLC (1900); Ellwood Medical Center Real Estate, LLC (8799) Ellwood Medical
Center Operations, LLC (5283); Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC (3388);
Success Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital Corporation #1
(2766).
2
    All capitalized terms shall have the meaning provided in the Order Scheduling Evidentiary Hearing.
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    2. Deadlines. All Joint Stipulations, Briefs, Affidavits, Exhibits and Expert Witness

         Qualifications shall be filed on or before July 20, 2020. Any objections to the Affidavits,

         Exhibits or Expert Witness Qualifications shall be filed on or before July 27, 2020.

    3. All other provisions of the Order Scheduling Evidentiary Hearing shall remain in effect.


This order tendered by:

/s/ Adam M. Back
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Timothy R. Wiseman, KY Bar No. 95072
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AND

/s/ Tiffany Payne Geyer (with permission)
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